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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ryan Cox,                                         No. CV-21-08197-PCT-SMB
10                  Plaintiff,                         ORDER
11   v.
12   CoinMarketCap OpCo LLC, et al.,
13                  Defendants.
14
15          The Court having considered Plaintiff’s Motion for Extension of Time for Service
16   (Doc. 27) and finding good cause,
17          IT IS HEREBY ORDERED the Motion is GRANTED.                       The deadline for
18   Plaintiffs to perfect service upon Defendants Changpeng Zhao, Catherine Coley, Yi He,
19   and Ted Lin shall be sixty (60) days after the entry of the Court’s order either granting or
20   denying Plaintiff’s Motion for Alternative Service Via Social Media.
21          Dated this 16th day of December, 2021.
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